                                      Case 3:18-cv-08988-MAS-LHG Document 1-1 Filed 05/09/18 Page 1 of 12 PageID: 7
                                                               DAVISON• EASTMAN• MUNOZ
                                                                LEDERMAN & PAONE P.A.
   DUANE O. DAVISON                                                                                                                        OF COUNSEL
   EDWARD C. EASTMAN, JR. I                                                                                                                KERRY J. MORGAN
   ROBERT F. MUNOZ • •
   PETER H. LEDERMAN"
                                                                            NOAH A. SCHWARTZ                                               DANIEL 0. OLSZAK
                                                                                                                                           TRACEE A. DANNER
   JAMES A. PAONE, II I
   ,IAMES M. McGOVERN, JR. • 4                                                                                                             ANDREW J . B ALL•
   ROBERl' S. BONNE:Y, JR. D •                                                                                                             PETER A. CHACANIAS
                                                                                nschwartz@demlplaw.com                                     NOAH A. SCHWAR'l'Z 0
   TIMOTHY D. LYONS lo
 · ANNE MAR!f. MAZZU •                                                     I 00 Willow Brook Road, Suite I00
   CHRISTINA D . HARDMAN O'NEAL                                                    Freehold, NJ 07728                                      CERTIFIED BY THE SUPREME COURT
   BLAKE R. LAURENCE • 0                                                                                                                   OF NEW JERSEY AS A:
   MATTH EW K. BLAINE 0                                                                                                                    I CIVIL TRIAL ATTORNEY
   CHRISTOPHER D. OLSZAK·:                                                     DIRECT DIAL NUMBER                                          o CRIMINAL TRIAL ATTORNEY
   BRIAN J . CH ABAREK •                                                                                                                   " MUNICIPAL COURT ATTORNEY
   GREO S, OAROULINSKI •
                                                                                     732-410-2386
   DOUGLAS J. WIDMAN c •                                                    DEPARTMENT FAX NUMBER                                          • LL.M. IN TAXATION
   DENNIS M. CALVIN . ·                                                                                                                    c &,. 1:40 QUALIFIED MEDIATOR
                                                                                    732-810-1574
      COUNSEL                                                                NJ 'AITORNEY ID NUMBER
      ROBERT F. McANANLY                                                                                                                   OTHER STATE ADMISSIONS:
                                                                                      035582009
      MANNY J . ALVELO •                                                                        . . .., .                                  • NEW YORK
      NICOLE SOROKOLIT CRODDICK •                                                       ,I :• •           I:~•                             0 PENNSYLVANIA
                                                                                                                                ;.   . :   A I LLINOIS

                                                                                                                                           WWW.DEMLPLAW.COM




                          MR·. MICHAEL CONTURS·o
                                                                                        .·:~.   -· .. .....   .
                                                                                                              ;.   .           i ···•:



                          State Fann Insurance Companies
                          P.O . Box 106169
                          Atlanta, GA 30348

                          Re:                    Perso11al Choice Dental Associates, PA
                                                 Claim No. 30-8H89-841
                                                 Policy No. 90-B4-6061-4
                                                 Date ofLoss: April 2, 2016
                                                 My File No. 2203-001

                          Dear Mr. Conturso:

                                 Enclosed please find a courtesy copy of the Affidavit of Service, track assignment notice,
                          CIS, Summons and Complaint regarding the above captioned matter.




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                          .NAS:sr
                           Encs.
                           cc:   Personal Choice Dental Assoc.
        Case 3:18-cv-08988-MAS-LHG Document 1-1 Filed 05/09/18 Page 2 of 12 PageID: 8


ANTilONY 1. vrrALE. DMD and PERSONAL                                                 : SUPERIOR COURT OF NBW JERSEY
CHOICE DENTAL ASSOCJATES; PA                                                           LAW DIVISION
      (Ptmft)                                                                        : MONMOOT.ti COUN'l't
                   vs.
                                                                                     : DOCKET NO. MO~-L 1137-.tg
STATE PARM PlREA'ND CASUAL'J"Y
COMPANY                                                                                                CMLACTlON
           ,(l>efendant)
                                                                                              AFFIDAVIT OF SERTICE


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                                                                                 LCV2018564844

MONMOUTH COUNTY
SUPERIOR COURT
PO BOX 1269
FREEHOLD            NJ 07728
                                                 TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (732) 677-4240
COURT HOURS 8 : 30 AM - 4:30 PM

                                DATE:   MARCH 30, 2018
                                RE:     VITALE ANTHONY VS STATE FARM FIRE       & CA   SUALTY C
                                DOCKET: MON L -001137 18

      THE ABOVE CASE HAS BEEN ASSIGNED TO:       TRACK 1.

     DISCOVERY IS   150 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:      HON OWEN C. MCCARTHY

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM           003
AT:   (732) 677-4262 EXT 4262.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:SA-2.
                            ATTENTION :
                                             ATT: PETER A. CHACANIAS
                                             DAVISON EASTMAN MUNOZ LEDERMAN
                                             100 WILLOWBROOK RD STE 100
                                             FREEHOLD         NJ 07728

ECOURTS
                     Case 3:18-cv-08988-MAS-LHG
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                                                    Civil Case Information Statement
Case       Oetai ii!' MONMOUTH•I'Civff'i>aH Dot ket#:c:oo 1137;·1:a;~~r -~ro;:i~~
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ase Caption: VITALE ANTHONY VS STATE FARM FIRE                                                                                                                                Case Type: OTHER INSURANCE CLAIM (INCLUDING
 CASUALTY CO                                                                                                                                                                  DECLARATORY JUDGMENT ACTIONS)
ase Initiation Date: 03/30/2018                                                                                                                                               Document Type: Complaint with Jury Demand
ttorney Name: PETER AARON CHACANIAS                                                                                                                                          Jury Demand: YES - 6 JURORS
irm Name: DAVISON EASTMAN MUNOZ LEDERMAN &                                                                                                                                    Hurricane Sandy related? NO
AONE                                                                                                                                                                         Is this a professional malpractice case? NO
ddress: 100 WILLOWBROOK RD STE 100                                                                                                                                           Related cases pending: NO
REEHOLD NJ 07728                                                                                                                                                             If yes, list docket numbers;
hone:                                                                                                                                                                        Do you anticipate adding any parties (arising out of same
ame of Party: PLAINTIFF : Vitale, Anthony, J                                                                                                                                 transaction or occurrence)? NO
ame of Defendant's Primary Insurance Company
f known): State Farm Fire                             & Casualty Company


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                                               CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




)o parties have a current, past, or recurrent relationship? YES

f yes, is that relationship: Business
)oes the statute governing this case provide for payment of fees by the losing party? NO
Jse this space to alert the court to any special case characteristics that may warrant individual
nanagement or accelerated disposition:



)o you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:



~ill an interpreter be needed? NO
        · If yes, for what language:




 certify that confidential personal identifiers have been redacted from documents now submitted to the
:ourt, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-?(b)

)3/30/2018                                                                                                                                                                                                                                  /s/ PETER AARON CHACANIAS
)ated                                                                                                                                                                                                                                                                                                                                        Signed
Case 3:18-cv-08988-MAS-LHG Document 1-1 Filed 05/09/18 Page 5 of 12 PageID: 11




    Douglas J. Widman, Esq. (009671973)
    DAVISON, EASTMAN MUNOZ
    LEDERMAN & PAONE, P.A.
    Monmouth Executive Center
    100 Willow Brook Road, Suite 100
    Freehold, New Jersey 07728
    (732) 462-7170
    (732) 462-8955 - fax
    Attorneys for plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Associates, PA

    ANTHONY J. VITALE, DMD AND                     ; SUPERIOR COURT OF NEW JERSEY
    PERSONAL CHOICE DENTAL                         i LAW DIVISION
    ASSOCIATES. PA,                                i MONMOUTH COUNTY
                                                    '>
                                                    '
            Plaintiff,
                                                   ..
                                                   ; DOCKET NO.:

            V.                                     ! CIVIL ACTION
                                                   ;
                                                   I

                                                   '
    STATE FARM FIRE AND CASUALTY                   f     SUMMONS
    COMPANY,                                       ';
                                                    ''
                                                     I

           Defendant.



STATE OF NEW JERSEY TO:

                         STATE FARM FIRE & CASUALTY COMPANY

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
this complaint, you or your attorney must file a written answer or motion and proof of service
with the deputy clerk of the Superior Court in the county listed above within 35 days from the
date you received this summons, not counting the date you received it. (A directory of the
addresses of each deputy clerk of the Superior Court is available in the Civil Division
Management Office in the county listed above and online at
bttp://,.vww.judiciary.state.nj.us/pro sell OJ 53 deptyclerklawrcf.pdf.) 3If the complaint is one
in foreclosure, then you must file your written answer or motion and proof of service with the
Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971.
A filing fee payable to the Treasurer, State of New Jersey and a completed Case Information
Statement (available from the deputy clerk of the Superior Court) must accompany your
answer or motion when it is filed. You must also send a copy of your answer or motion to
plaintiffs attorney whose name and address appear above, or to plaintiff, if no attorney is
named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $135.00 and completed Case Infonnation Statement) if you want
the court to hear your defense.




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 If you do not file and serve a written answer or motion within. 35 days, the court may enter a
 judgment against you for the relief plaintiff demands, plus interest and costs of suit. If
 judgment is entered against you, the Sheriff may seize your money, wages or property to pay
 all or part of the judgment.

 If you cannot afford an attorney, you may call the Legal Services office in the county where
 you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (l-888-
 576-5529). If you do not have an·attorney and are not eligible for free legal assistance, you
 may obtain a referral to an attorney by calling one of the Lawyer Referral Services. A directory
 with contact information for local Legal serv,ices Offices and Lawyer Referral services is
 available in the Civil Division Management Office in the ,c ounty listed above and on.line at
 http://www.judiciary.state.nj.us/prose/101 ~3..:.:.d·eptyclerklawref.pdf.
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                                              ~ /~::--:i
                                    ..__,,,   ~HELL~SMITH
                                               Clerk-o.f-tlfe Superior Court
 Dated: April 2, 2018

 Name of Defendant to Be Served: State Farm Fire & Casualty Co.
 Address of Defendant to Be Served: 300 Kimball Drive, Parsippany, N.J. 07054
 NOTE: The Case Information Statement is available at www.njcourts.com




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 Freehold, New Jersey 07728
 (732) 462-7170
 (732) 462-8955 - fax
 Attorneys for plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Associates, PA

  ANTHONY J. VITALE, DMD AND PERSONAL : SUPERIOR COURT OF NEW JERSEY
  CHOICE DENTAL ASSOCIATES. PA,       : LAW DIVISION     .
       Plaintiff,
                                      : MONMOUTH COUNTY
                                      ''
                                                         .
                                      1 DOCKET NO.:
               v.                                        'I
                                                         '
                                                         : CIVIL ACTION
  STATE FARM FIRE AND CASUALTY                           '''
  COI\1PANY,                                             j COMPLAINT and JURY DEMAND

           Defendant.


          Plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Ass.ociates. PA, by way of

 Complaint against Defendant, State Fann Fire and Casualty Company, say:

          1.        Anthony J. Vitale, DMD ("Dr. Vitale") is a natural person doing business at 400 Perrine

 Road, Suite 400A, Old Bridge, NJ 08857.

          2.        Personal Choice Dental Associates, PA ("Personal Choice") is a New Jersey professional

 association with a primary place of business located at 400 Perrine Road, Suite 400A, Old Bridge, NJ

 08857.

          3.        State Fann Fire and Casualty Company ("State Farm") is a foreign insurance corporation

 licensed to sell and provide insurance in the State of New Jersey and doing business at 300 Kimball Drive,

 Parsippany, New Jersey 07054.

          4.        State Fann issued a Medical Office Policy to Personal Choice, policy number 90-05-5323-

0, for the policy period August 7, 2015 through August 7, 2016 ("Personal Choice policy").

          5.        State Farm issued a Medical Office Policy to Dr. Vitale, policy number 90-B4-6062-4, for

the policy period August 7, 2015 through August 7, 2016 ("Dr. Vitale policy").


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          6.      Both the Personal Choice policy and the Dr. Vitale policy include 400 Perrine Rd., Suite

 400A, Old Bridge, NJ 08857 (the "Business Premises") on their respective property schedules.

          7.      At all relevant times, Dr. Vitale and Personal Choice have operated a dental practice out of

 the Business Premises.

          8.      Both the Personal Choice policy and the Dr. Vitale policy include loss of income and extra

 expense coverage.

          9.      More specifically, the Personal Choice policy and the Dr. Vitale policy provide that in the

 event that Dr. Vitale or Personal Choice suffer a business interruption loss, State Farm will pay Dr. Vitale's

 and Personal Choice's actual business interruption loss.

          10.     On April 2, 2016, during the policy period of both the Dr. Vitale policy and the Personal

 Choice policy, a catastrophic flood occurred at the Business Premises.

          11.     Due to the catastrophic flood, Dr. Vitale and Personal Choice' s business operations at the

 Business Premises were interrupted.

          12.     State Farm admitted that a business inten·uption, as defined by the Dr. Vitale policy and

 the Personal Choice policy, had occurred as a result of the catastrophic flood and began making indemnity

 payments on or about April 25, 2016.

         13.      Although the Dr. Vitale policy and the Personal Choice policy unambiguously provide for

 business interruption coverage paying the actual business interruption loss, State Farm arbitrarily and

 capriciously ended coverage on or about October 31, 2016, even though at that time and for a time after

 that date, both Dr. Vitale and Personal Choice continued to suffer business interruption losses.

         14.      State Farm justified discontinuing indemnity payments to Dr. Vitale and Personal Choice

 by asserting, in a letter dated December I 0, 20 I 6, that "it was agreed that mold formed in the office due to

 an unrelated prior leak from the dental vacuum equipment which was later spread by ServPro during the

 mitigation efforts following the water heater leak," an assertion which is pure speculation on the part of

 State Fann.




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          15.      Indeed, State Farm substituted its guesswork for an investigation which State Fann was

  obligated to undertake as Dr. Vitale and Personal Choice's insurer.

          16.      Had State Fann diligently investigated the claim presented by Dr. Vitale and Personal

 Choice, it would have concluded that Dr. Vitale and Personal Choice's business interruption losses

 continued to accrue after October 31, 2016 and by discontinuing payments at that time, breached its

 obligations under the Dr. Vitale policy and the Personal Choice policy.


                                                FffiST COUNT
                                               Breach of Contract

          17.      Dr. Vitale and Personal Choice repeat and reallege paragraphs 1 through 16 of this

 complaint as if fully set forth herein at length.

          18.      Under the Dr. Vitale policy and the Personal Choice Policy, State Fann was expressly

 obligated to thoroughly investigate Dr. Vitale and Personal Choice's claim and to make good on its express

 promise to pay covered losses in a timely fashion.

          19.      By failing to pay Dr. Vitale and Personal Choice's actual loss in connection with the

 catastrophic flood, State Fann has breached its contract with Dr. Vitale and Personal Choice

          WHEREFORE, plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Associates, PA,

 hereby demand judgment against defendant, State Farm Fire and Casualty Company, along with an award

 of costs and attorneys' fees and for such other and further relief the court deems just and proper.

                                               SECOND COUNT
                                                  Bad Faith

         20.      Dr. Vitale and Personal Choice repeat and reallege paragraphs l through 19 of this

 complaint as if fully set forth herein at length.

         21.      State Farm failed to diligently investigate Dr. Vitale and Personal Choice's claim.

         22.      Had State fann diligently investigated Dr. Vitale and Personal Choice's claim, State Fann

 would have concluded that the water damage and mold infiltration at the Business Premises was casually

 linked to the catastrophic flood of April 2, 2016 and Dr. Vitale and Personal Choice continued to suffer



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  actual business interruption losses long after October 3 l, 2016, at which time State Fann discontinued

  paying indemnity.

           23.      At the time Dr. Vitale and Personal Choice purchased the Dr. Vitale policy and the Personal

  Choice policy from State Farm, they placed their trust in State Farm and its employees to act in good faith

  and in a reasonable manner in the event they should ever make a claim against such insurance.

           24.      State Farm and its employees were in a fiduciary relationship with Dr. Vitale and Personal

  Choice and were under a duty to use the ·skill, care, and knowledge of other claims representatives and

  underwriters practicing as insurance claims representatives and underwriters in evaluating and investigating

  claims made by Dr. Vitale and Personal Choice in a prompt and thorough manner.

           25.     Dr. Vitale and Personal Choice relied on State Fann to investigate and inform them

  accordingly as to their insured status with respect to their claims related to the catastrophic flood.

           26.      State Fann and/or its employees either intentionally or, in the alternative, negligently failed .

  to investigate Dr. Vitale and Personal Choice's claim in a prompt and thorough manner as they were

  required to do and, as a direct and proximate resuh:, Plaintiff has suffered monetary damages and wilI suffer

  monetary damages in the future.

           WHEREFORE, plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Associates, PA,

  hereby demand judgment against defendant, State Fann Fire and Casualty Company along with an award

  of costs and attorneys' fees and for such other and further relief the court deems just and proper.

                                                 THIRD COUNT
                                              Declaratory Judgment

          27.      Dr. Vitale and Personal Choice repeat and reallege paragraphs 1 through 26 of this

  complaint as if fully set forth herein at length.

          28.      The business intetTIJption losses Dr. Vitale and Personal Choice suffered as a result of the

  catastrophic flood constitute a "loss of income" under the Dr. Vitale policy and Personal Choice policy.

          29.      No exclusions apply to the catastrophic flood loss under either the Dr. Vitale policy or the

  Personal Choice policy.



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          30.       Nonetheless, State Farm has wrongfully declined to indemnify Dr. Vitale and Personal

  Choice for their entire business interruption loss.

          31.       Accordingly, Dr. Vitale and Personal Choice seek a judgment from the court declaring that

  State Fann has a duty to indemnify Dr. Vitale and Personal Choice with regard to all their business

  interruption losses relative to the catastrophic flood.

          WHEREFORE, plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Associates, PA,

  hereby demand judgment against State Farm proving the following relief:

          a.    A declaration that State Fa1TJ1 has a duty to indemnify Anthony J. Vitale, DMD and Personal

                Choice Dental Associates, PA for all their business interruption losses in connection with the

                April 2, 2016 catastrophic flood;

          b. Awarding attorney's fees and costs to Anthony J. Vitale, DMD and Personal Choice Dental

                Associates, PA for bringing the within action; and

          c. Granting such other and further relief as this court deems appropriate and just.

                                                JURY DEMAND

          A demand is hereby made for a trial by jury.

                                   DESIGNATION OF TRIAL COUNSEL

          Pursuant to R. 4:25-4, Douglas J, Widman, Esq., is hereby designated as trial counsel on behalf of

   the plaintiffs, Anthony J. Vitale, DMD and Personal Choice Dental Associates, PA.


                                 CERTIFICATION PURSUANT TOR. 4:5~1

          Pursuant to R. 4:5-1, the undersigned certifies that to the best of his knowledge, the within matter

   in controversy is not the subject of any other action pending in any other Court, or of a pending arbitration




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    proceeding, nor is any action or arbitration proceeding contemplated nor are other parties required to be

   joined in this action.

                                                   DAVISON, EASTMAN, MUNOZ,
                                                   LEDERMAN & PAONE, P.A.




   Dated: March 30, 2018




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